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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

 CASE NO. 12-cr-00033-JLK

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 JAMSHID MUHTOROV,

             Defendant.
 _____________________________________________________________________________

    DEFENDANT'S MEMORANDUM REGARDING SENTENCING GUIDELINES
       AND ADOPTION OF ARGUMENTS MADE BY BAKHTIYOR JUMAEV
                            IN DOCS. 1908 AND 1910
 ____________________________________________________________________________

        On July 2, 2018, the Court filed a Notice of Rejection of U.S. Sentencing Guidelines.

 Doc. 1914. 1 It advised the Court would not be following the Guidelines in the sentencings of

 Mr. Muhtorov and Mr. Jumaev, as they are “inadequate and illogical when applied to the facts of

 these Defendants.” 2

        Mr. Muhtorov agrees the sentencing guidelines applied in material support cases,

 and particularly as “adjusted” under § 3A1.4, suggest – in an advisory way – prison sentences

 that bear no relationship to the sentencing factors outlined in 18 U.S.C.A § 3553(a). 3



 1
   “Doc.” meaning clerk’s docket.
 2
    In its Sentencing Statement in Mr. Jumaev’s case, the government applies 3A1.4 to come up
   with a guideline range of 360 years to life. Doc. 1883 page 13.
 3
   “Of all the adjustments in the Guidelines, the Terrorism Enhancement is the most severe.” See
   Illusion of Justice: Human Rights Abuses in US Terrorism Prosecutions, Colum. L. Sch. Hum.
   Rts. Inst. & Hum. Rts. Watch 124 (July 21, 2014). With this adjustment, the Guidelines
   calculate prison sentences at offense levels in the 30’s and an automatic Criminal History
   Category of VI, often higher than the statutory maximums for the offenses of conviction,
   themselves. “[T]he Enhancement can lead to a sentence from thirty years to life for a crime that
   would otherwise result in a sentence of around five years.” Sameer Ahmed, Is History
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        Recognizing that the Court will elaborate on its Notice of Rejection in upcoming orders,

 Mr. Muhtorov files this memorandum in support of the Court’s authority to not follow the

 U.S. Sentencing Guidelines, and, in particular § 3A1.4. He begins with three quotes, and one

 caution:

        The quotes:

            1.   “[C]ourts are not machine presses and sentences are not widgets to be churned

                 out on some criminal justice conveyor belt.” United States v. Sabillon-Umana,

                 772 F.3d 1328, 1330 (10th Cir. 2014) (Gorsuch, J.) 4

            2. “[A district court’s] categorical disagreement with and variance from the

                 Guidelines is not suspect.” Spears v. United States, 555 U.S. 261, 264, 129 S. Ct.

                 840, 843, 172 L. Ed. 2d 596 (2009).

            3. Courts of appeal “uphold even substantial variances when the district court

                 properly weighs the § 3553(a) factors and offers valid reasons for the chosen

                 sentence.” United States v. Barnes, 890 F.3d 910, 916 (10th Cir. 2018).

        The caution:

            4. “[T]he sentencing process [in terrorism cases] will continue to witness the

                 phenomenon of federal appellate judges substituting their judgment for that of the

                 district court . . . if they feel the penalty is too lenient, based on assumptions about

                 the nature of a terrorist.” Wadie E. Said, Sentencing Terrorist Crimes, 75 Ohio

                 St. L.J. 477, 527 (2014). 5



   Repeating Itself? Sentencing Young American Muslims in the War on Terror, 126 Yale L.J.
   1520, 1528 (2017)
 4
   On conveyer belts, see https://www.youtube.com/watch?v=HnbNcQlzV-4.
 5
   A particularly offensive example is found in United States v. Jayyousi, 657 F.3d 1085 (11th
   Cir. 2011) (but note the dissent). Compare United States v. Thavaraja, 740 F.3d 253, 263 (2d
                                                    2
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        Preliminary matters

        1. Motion to adopt , approve, incorporate, etc., the reasons stated and arguments
           advanced by Mr. Jumaev

        Under D.C.COLO.LCrR 12.1, Mr. Muhtorov approves, adopts, etc. the arguments

 advanced and authorities cited as they relate to the Sentencing Guidelines in codefendant

 Bakhtiyor Jumaev’s Sentencing Statement and Motion for Variant Sentence, Doc. 1908, filed

 June 28, 2018. 6

        2. The Sentencing Guidelines for the offenses of conviction must be correctly
           calculated

        Regardless of a particular Guideline’s illogic, inadequacy, incompatibility with

 § 3553(a), or other flaws, district courts are “procedurally obligated to calculate and consider the

 Sentencing Guidelines in reaching an independent decision as to sentence.” United States v.

 Awan, 607 F.3d 306, 312 (2d Cir. 2010). See also Gall v. United States, 552 U.S. 38, 49-50, 128

 S.Ct. 586, 169 L.Ed.2d 445 (2007; United States v. Rosales-Miranda, 755 F.3d 1253, 1259 (10th

 Cir. 2014) (“[A] district court should begin all sentencing proceedings by correctly calculating

 the applicable Guidelines range.”); 18 U.S.C. § 3553(a)(4). This includes considering any

 departures that would support a sentence outside the guideline range. 7




   Cir. 2014), upholding a variant sentence in a “terrorism” case, with this language: “[W]e
   conclude that the sentence imposed in this case reflects thoughtful and principled consideration
   by a conscientious district judge of all the factors relevant to an individualized determination of
   a fair and just sentence.”
 6
   He does not adopt the arguments Mr. Jumaev makes about his role in the offense under
   U.S.S.G. § 3B1.2. See Doc. 1908, p. 22.
 7
   In deciding whether to impose a sentence outside the advisory guidelines range, a court should
   first consider “whether a departure is appropriate based on the Guidelines Manual or relevant
   case law”. [United States v. Moreland, 437 F.3d 424, 432 (4th Cir.2006).] “‘If an appropriate
   basis for departure exists, the district court may depart.’ Id. If the resulting range still does not
   serve the factors set forth in § 3553(a), the court may impose a non-guidelines sentence, also
   known as a variance sentence, but must articulate the reasons for the sentence imposed.”
                                                   3
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        The correct calculation of a guidelines range does not prevent a sentencing court from

 disagreeing with it on policy grounds. See e.g., United States v. Garcia-Jaquez, 807 F. Supp. 2d

 1005, 1007-8 (D. Colo. 2011) (recognizing the starting point in sentencing is to calculate the

 guideline range, but that courts “may also categorically vary from the guidelines based on a

 policy disagreement with a particular guideline.”)

        Summary of Argument

        This Court has the authority, or discretion, to discount (but not discard) a sentencing

 guideline imprisonment range to reflect policy disagreements with it.

        The problems with Guideline § 3A1.4 are many. It was implemented in haste with no

 empirical data to support its draconian impact. It is inconsistent with 18 U.S.C. § 3553(a) and

 the mandate that each sentence account for “the nature and circumstances of the offense and the

 history and characteristics of the defendant.” Part of this failure comes from its automatic

 imposition of a Criminal History Category of VI, regardless of an offender’s actual criminal

 history. It deviates without explanation from the statutory penalties for the offenses to which it

 relates and unlike the statutes themselves, § 3A1.4 makes no allowance for – or distinction

 between – the manner in which these offenses may be committed.

        Section 3A1.4 was implemented by congressional directive, and there is no empirical
        data to support it.

        There is no empirical basis for § 3A1.4

        “The extent to which a sentencing court should accord respect to a guideline will

 generally depend on whether, when it developed the guideline, the Commission functioned as

 Congress envisioned in the Sentencing Reform Act.” Lynn Adelman & Jon Deitrich, Improving



  United States v. Benkahla, 501 F. Supp. 2d 748, 758 (E.D. Va. 2007), aff'd, 530 F.3d 300 (4th
  Cir. 2008).
                                                  4
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 the Guidelines Through Critical Evaluation: An Important New Role for District Courts,

 57 Drake L.Rev. 575 (2009). 8 See United States v. Grober, 624 F.3d 592, 608 (3d Cir. 2010)

 (“[A] Guideline is likely to reflect a rough approximation of sentences that might achieve

 § 3553(a)'s objectives only when it is the product of empirical data and national experience,

 guided by a professional staff with appropriate expertise).

           The Commission did not consider data or national experience when it promulgated

 Guideline § 3A1.4. As was the case with the knee-jerk “War on Drugs” crack guidelines, there

 was no empirical approach that resulted in Guideline § 3A1.4. “[W]hen U.S.S.G. section 3A1.4

 was adopted, the number of the anti-terrorism cases was tiny, and so there could be no analysis

 of a statistically reliable group of defendants upon which to build a reliable Guideline.” James P.

 McLoughlin, Jr., Deconstructing United States Sentencing Guidelines Section 3A1.4: Sentencing

 Failure in Cases of Financial Support for Foreign Terrorist Organizations, 28 Law & Ineq. 51,

 112 (2010).

           Section 3A1.4 is not the product the Sentencing Commission’s exercise of its
           characteristic institutional role and the district court may disagree with or discount
           it.

           In Kimbrough v. United States, 128 U.S. 558, 5623 (2007), the Supreme Court held that a

 district court did not abuse its discretion by refusing to apply the 100-to-1 crack cocaine to

 powder cocaine ratio of USSG § 2D1.1 where the court found that applying the ratio would yield

 “a sentence ‘greater than necessary’ to achieve § 3553(a)'s purposes.” The Court reasoned that

 the crack cocaine guidelines were entitled to less deference because, in formulating the

 guidelines, the Sentencing Commission had not acted in the “exercise of its characteristic




 8
     See Rita v. United States, 551 U.S. 338, 349 (2007) (outlining the “empirical approach” that the
     Sentencing Commission used to structure the Sentencing Guidelines)
                                                    5
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 institutional role” to formulate guidelines in light of “empirical data and national experience,”

 but had instead quickly adopted congressional language mandating the 100-to-1 ratio. See also

 Spears v United States, 555 U.S. 261, 264 (2009) (“[E]ven when a particular defendant [in a

 crack cocaine case] presents no special mitigating circumstances—no outstanding service to

 country or community, no unusually disadvantaged childhood, no overstated criminal history

 score, no post-offense rehabilitation—a sentencing court may nonetheless vary downward from

 the advisory guideline range” based on a “policy disagreement with them.”)

         These decisions (to vary from a guideline range) are supported, or “not suspect,” when a

 court “appropriately frame[s] its final determination in line with § 3553(a)'s overarching

 instruction to ‘impose a sentence sufficient, but not greater than necessary’ to accomplish the

 sentencing.” Id. at 265.

        While Congress has the ultimate authority over the Guidelines “and may enact directives

 to the Commission which the Commission is obliged to implement . . . Kimbrough permits

 district courts to vary ‘even where a guideline provision is a direct reflection of a congressional

 directive.’” United States v. Grober, supra, 608–09(quoting United States v. Arrelucea-

 Zamudio, 581 F.3d 142, 150 (3d Cir. 2009)). See also United States v. Rosales-Miranda, supra at

 1264 (recognizing in dictum a sentencing court’s discretion “not to discard the Guidelines range,

 but rather to discount it to reflect the court's policy disagreements.”)

        At least one circuit has addressed this in the context of Guideline § 3A1.4 which was, like

 the crack guidelines, promulgated by congressional directive, not after empirical research. As a

 consequence, district courts may, based on policy disagreements, vary from the sentencing range

 suggested by the guideline. United States v. Mason, 410 Fed. Appx. 881, 886 (6th Cir. 2010)




                                                   6
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 (recognizing the district court “understood its authority to disagree with the terrorism

 adjustment.”)

        Section 3A1.4 is inconsistent with 18 U.S.C. § 3553(a) and its mandate that each
        sentence account for “the nature and circumstances of the offense and the history
        and characteristics of the defendant.”

        “Post-Booker, federal courts are instructed to fashion a sentence based on a variety of

 statutory factors under 18 U.S.C. § 3553(a), including ‘the nature and circumstances of the

 offense and the history and characteristics of the defendant.’ However, unlike with other crimes,

 sentencing in the terrorism context--and the Terrorism Enhancement especially--fails to address

 these factors. The Terrorism Enhancement treats all offenders the same, without taking into

 account their actual conduct or individual background, such as age and criminal history. Thus,

 the Enhancement undermines a basic principle of U.S. sentencing law and its underlying

 commitment to retributive justice: that punishment should be proportional to the crime.” Sameer

 Ahmed, Is History Repeating Itself? Sentencing Young American Muslims in the War on Terror,

 126 Yale L.J. 1520, 1524, 1528-9 (2017).

        Courts may no longer presume a guideline range is reasonable but must make an

 individual assessment of the § 3553(a) factors based on all facts presented. Gall v. United States,

 552 U.S. 38, 51 (2007). 9 This involves considering the nature of the offense and the



 9
   18 U.S.C. § 3553(a):
 The court shall impose a sentence sufficient, but not greater than necessary, to comply with the
 purposes set forth in paragraph (2) of this subsection.
 The court, in determining the particular sentence to be imposed, shall consider—
 (1) the nature and circumstances of the offense and the history and characteristics of the
 defendant;
 (2) the need for the sentence imposed—
 (A) to reflect the seriousness of the offense, to promote respect for the law, and to provide just
 punishment for the offense;
 (B) to afford adequate deterrence to criminal conduct;
 (C) to protect the public from further crimes of the defendant; and
                                                  7
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 characteristics of the offender. The characteristics include a person’s criminal record, if any.

 Also, courts are to evaluate “the seriousness of the offense” under § 3553(a)(2)(A).

           Section 3A1.4, adopted at the direction of Congress, not only ignores the dictates of

 § 3553(a), it ignores the normal process by which the sentencing guidelines are calculated under

 U.S.S.G. § 1B1.1. (Application Instructions). “The terrorism enhancement takes a wrecking ball

 to this carefully constructed edifice.” George D. Brown, Punishing Terrorists: Congress, the

 Sentencing Commission, the Guidelines, and the Courts, 23 Cornell J.L. & Pub. Pol'y 517, 520

 (2014).

           Section 3A1.4 deviates from the statutory penalties for the offenses to which it
           relates and, unlike the statutes themselves, makes no allowance for – or distinction
           between – the manner in which these offenses were committed.

           Federal terrorism statutes make distinctions in penalties depending on such things as

 motive or actual harm caused. Section 3A1.4 is distinction free.

           “When section 3A1.4 is applied [to sentencing] the distinction between the sentences for

 violent and non-violent crimes can narrow, exposing a fundamental inconsistency between the

 penalties Congress has promulgated and the actual sentencing levels terrorism defendants are

 exposed to, regardless of violent conduct.” Wadie E. Said, Sentencing Terrorist Crimes, 75 Ohio

 St. L.J. 477, 501 (2014).




 (D) to provide the defendant with needed educational or vocational training, medical care, or
 other correctional treatment in the most effective manner;
 (3) the kinds of sentences available;
 (4) the kinds of sentence and the sentencing range established [and recommended by the
 Sentencing Guidelines];
 (5) any pertinent policy statement ... issued by the Sentencing Commission ...; ...
 (6) the need to avoid unwarranted sentence disparities among defendants with similar records
 who have been found guilty of similar conduct; and
 (7) the need to provide restitution to any victims of the offense.

                                                    8
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        Christina Parajon Skinner, in a 2013 article in the Yale Law and Policy Review,

 Punishing Crimes of Terror in Article III Courts, put it this way:

        As applied to War on Terror cases, the Sentencing Guidelines also seem in tension with
        U.S. statutory law. In particular, the operation of the Terrorism Enhancement [3A1.4] is
        inconsistent with the statutes that criminalize terroristic acts. One source of that
        inconsistency is the irrelevancy to the Terrorism Enhancement of a defendant's
        motivation for committing the offense, while the statutes themselves often distinguish
        between violent and financial crimes. 10
                ...

        Based on the penalties delimited by the statutes themselves, it seems clear that “Congress
        did not intend to punish a financial supporter of a[n] FTO or organization that commits a
        terrorist act as severely as an individual who commits the act itself.” As others have
        observed, by “[c]harting these and other anti-terrorism statutes, it appears that the
        penalties are meant to be proportional to the culpability of the conduct, to the injury that
        can be directly attributed to a defendant's actions, and to the nature of the organization's
        actions.” In view of the statutory scheme that seems to treat separately financial and
        ideological terrorism, it is troubling that the Terrorism Enhancement provides no explicit
        gradation where motives are concerned. 11

 31 Yale L. & Pol'y Rev. 309, 342-44. (emphasis supplied, footnotes omitted). 12


 10 “The material support statutes . . . distinguish between violent and financial conduct. Section
     2339A initially set the maximum penalty at ten years, and was amended by the PATRIOT Act
     to allow a maximum of fifteen years, or life imprisonment if a death results. Section 2339B
     allows for a maximum sentence of fifteen years, or life imprisonment if a death results.
     Section 2339C, which was enacted as part of the Anti-Terrorism Convention of 2002,
     punishes the provision of funds when one knows or intends that they will be used for
     terrorism. Section 2339C distinguishes between defendants who know or intend that the funds
     will be so used, and those who do not act knowingly. If the government proves that the
     defendant acted with the intent that the funds be used--or with knowledge that funds will be
     used--to fund a specific act of terrorism, the maximum penalty is twenty years.” Christina
     Parajon Skinner, Punishing Crimes of Terror in Article III Courts 31 Yale L. & Pol'y Rev.
     309, 342-44.
 11
     “As pointed out in the National Journal, ‘Critics of the terrorism enhancement have seized on
     this issue of congressional intent to argue that the courts have veered into forbidden
     territory.’” Shane Harris, The Terrorism Enhancement: An Obscure Law Stretches the
     Definition of Terrorism, and Metes Out Severe Punishments, Nat'l J., July 13, 2007,
     http://shaneharris.com/magazinestories/terrorism-enhancement-obscure-law-stretches-
     thedefinition-of-terrorism-and-metes-out-severe-punishments.
 12
     George D. Brown, Notes on a Terrorism Trial--Preventive Prosecution, “Material Support”
    and the Role of the Judge After United States v. Mehanna, 4 Harv. Nat'l Security J. 1, 54
    (2012) (“[The Terrorism Enhancement does not reflect] an important value of the criminal law:
                                                  9
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           Repeating the errors of the past

           “[J]ust like the War on Drugs, the government's sentencing policies--in particular the

 Sentencing Guidelines' Terrorism Enhancement--fail to take into account the differences between

 a violent terrorist who has killed dozens and an American Muslim . . . who tweets support for

 ISIS online. . . .[T]he lessons learned from counterproductive War on Drugs sentencing laws

 have not yet been translated to the War on Terror. . . And, like the War on Drugs, the War on

 Terror policies have failed to serve the purposes of criminal sentencing or to contribute to an

 effective counterterrorism policy.”

 Sameer Ahmed, Is History Repeating Itself? Sentencing Young American Muslims in the War

 on Terror, 126 Yale L.J. 1520, 1524, 1528-9 (2017).

           Section 3A1.4 artificially manipulates a defendant’s Criminal History Category.

           As with the offense level, there was no empirical data considered by the Commission

 supporting the automatic jump to Criminal History Category VI that accompanies § 3A1.4.

 Where, as is true with Mr. Muhtorov, a defendant has no criminal record, the impact on the

 guideline imprisonment range from this leap is dramatic. 13

           This puts § 3A1.4 at odds with 18 U.S.C. § 3553(a) (1) which requires a court to consider

 a defendant's history and characteristics in making its sentencing determinations. “History and



      the gradation of offenses. We do not treat a purse-snatcher like a rapist. The Enhancement
      reflects a different view: a terrorist is a terrorist.”)
 13
       U.S. Sentencing Guidelines Manual § 3A1.4(b) (a defendant sentenced under the Guideline is
      to automatically receive an enhanced Criminal History Category, without mandating
      individualized consideration of whether this is appropriate for the individual defendant). This
      is at variance with the Commission’s thoughts in formulating the Guidelines: Cf. 28 U.S.C.
      § 994(j) (“The Commission shall insure that the guidelines reflect the general appropriateness
      of imposing a sentence other than imprisonment in cases in which the defendant is a first
      offender who has not been convicted of a crime of violence or an otherwise serious
      offense . . .”)
                                                    10
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 characteristics” include a defendant’s criminal record. Lack of a criminal record or first offender

 status, is a significant factor in calculating Guideline sentences. 14 By creating an artificial

 category of VI, even for first offenders, § 3A1.4 ignores that those who typically end up in that

 (highest) category, by virtue of their criminal records, have significantly worse personal

 histories.

           No empirical data supported this automatic increase, one effect of which “is to exacerbate

 disparities between the sentences of similar defendants for similar conduct, because this

 Guideline instructs a sentencing court to substitute an artificial determination for each individual

 defendant's true characteristics.” McLoughlin, supra at 111.

           Departing downward to compensate for § 3A1.4’s criminal history impact.

           While this memo focuses on the Court’s authority to disagree with the § 3A1.4 Guideline,

 courts may also depart downward from the guideline including, under U.S.S.G. § 4A1.3, from its

 automatic Criminal History Category of VI. While some courts of appeal have found “the

 Sentencing Commission had a rational basis for creating a uniform criminal history category for

 all terrorists under [U.S.S.G.] § 3A1.4 (b)” [United States v. Meskini, 319 F.3d 88, 92 (2d Cir.),

 cert. denied, 538 U.S. 1068, 123 S.Ct. 2240, 155 L.Ed.2d 1125 (2003)], . . . . in the same virtual

 breath, [they have] said, ‘[a] judge determining that § 3A1.4 (b) over-represents ‘the seriousness

 of the defendant's past criminal conduct or the likelihood that the defendant will commit other




 14
       See United States Sentencing Commission, Recidivism and the “First Offender” (May 2004):
      “From both culpability and recidivism risk perspectives, offenders [ ] with no prior arrests,
      most strongly meet the conceptual definition of the first offender category. [These] [o]fenders
      have had no recorded contact with the criminal justice system prior to their instant federal
      offense. Moreover, as indicated by their extremely low recidivism rate of 6.8 percent, they are
      easily the most empirically identifiable group of guideline federal offenders who are the least
      likely to re-offend.” United States v. Wyrick, 416 Fed. Appx. 786, 793 (10th Cir. 2011).


                                                    11
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 crimes' always has the discretion under § 4A1.3 to depart downward in sentencing. U.S.S.G.

 § 4A1.3.’” 15 Id. See also United States v. Stewart, 590 F.3d 93, 143–44 (2d Cir. 2009). (Despite

 the application of § 3A1.4 to increase the Criminal History Category to VI, courts retain

 discretion to depart downward under § 4A1.3 (overrepresentation of criminal history)); United

 States v. Benkahla, 501 F. Supp. 2d 748, 759 (E.D. Va. 2007), aff'd, 530 F.3d 300 (4th Cir. 2008)

 (Despite § 3A1.4's provision of a uniform criminal history category, a court may still vary from

 that category based upon the concerns in § 4A1.3.)

        Conclusion

        District courts have the discretionary authority not to apply a guideline based on policy

 disagreements with it. As part of the sentencing process the guideline range must be calculated,

 but in the final analysis any sentence imposed must comply with the purposes articulated in

 18 U.S.C. § 3553(a), and be sufficient, but not greater than necessary, to comply with those

 purposes.




 15
    U.S.S.G. 4A1.3 (b) Downward Departures.--
 (1) Standard for Downward Departure.--If reliable information indicates that the defendant's
 criminal history category substantially over-represents the seriousness of the defendant's criminal
 history or the likelihood that the defendant will commit other crimes, a downward departure may
 be warranted.
 ...

 (c) Written Specification of Basis for Departure.--In departing from the otherwise applicable
 criminal history category under this policy statement, the court shall specify in writing the
 following:
 ...

 2) In the case of a downward departure, the specific reasons why the applicable criminal history
 category substantially over-represents the seriousness of the defendant's criminal history or the
 likelihood that the defendant will commit other crimes.




                                                 12
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        While the post-Booker guidelines have some continuing gravitational pull on the

 sentencing process, as Justice (then circuit judge) Gorsuch observed in the same opinion from

 which the “widget” quote was taken:

        Sentencing someone to prison has to be one of the district judge's toughest tasks. So
        much is at stake for the defendant, the victim, and the community. So much responsibility
        rests on the judge's shoulders, along with the high expectation that the judge will wisely
        weigh things that cannot be easily weighed. How much punishment is enough to protect
        the public? To deter future wrongdoing? To reflect the gravity of the offense? And how
        much punishment suffices to accomplish all these things without verging on cold revenge
        or needless retribution? There's rarely a single right answer to hard questions like these.
        So our system depends, as perhaps it must, on the discretion of thoughtful judges.

 United States v. Sabillon-Umana, supra at 1330.

        Guideline § 3A1.4 attempts to suppress the meaningful exercise of judicial discretion,

 and relegates sentencing in so called terrorism cases to the conveyer belt and widget process that

 Justice Gorsuch criticized. It does so despite being a creature of politics, rather than the product

 of the traditional process by which guidelines are promulgated. To the extent it is entitled to any

 deference in the post-Booker world, it is entitled to less as a consequence.

        The guideline’s suggested approach, including the automatic increase of a defendant’s

 criminal history category to VI, is at odds with 18 U.S.C. § 3553 and the statute’s mandate that

 no sentence be “greater than necessary” to achieve the goals of sentencing.

        As exemplified in the government’s sentencing position in Mr. Jumaev’s case, adherence

 to the “Terrorism Enhancement,” as it is sometimes called, can give rise to de facto mandatory

 minimum sentences. This is because the Guideline’s sentencing range, as it does for

 Mr. Jumaev, often exceeds the statutory maximum for the offense of conviction, effectively

 making the statute’s maximum the minimum sentence. All of which is to say the Terrorism

 Enhancement attempts to force outcomes that bear no relationship to what the sentencing process

 is supposed to be about.

                                                  13
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           As the Supreme Court said in Rita, “The sentencing judge has access to, and greater

 familiarity with, the individual case and the individual defendant before him than the

 Commission or the appeals court.” 551 U.S. 357-58. 16 This is another way of saying district

 courts are in the best position, after “thoughtful and principled consideration . . . of all the factors

 relevant to an individualized determination of a fair and just sentence” [United States v.

 Thavaraja, supra at 263 ], to decide what that sentence should be.

           As James P. McLoughlin, said in his piece about deconstructing Guideline § 3A1.4:

           Nuance in sentencing those guilty of “material support” is better anti-terrorism policy,
           as well as better sentencing policy. U.S.S.G. section 3A1.4, in its deviation from existing
           Guidelines policy and failure to account for the specific attributes of each offense and
           defendant, represents the worst in U.S. sentencing policy, and as such should be
           abandoned.

 McLoughlin, supra, at 112.

           While abandonment of the § 3A1.4 guideline may not be an option (the guidelines must

 still be calculated as part of sentencing), disagreement with it is.


                                                 Respectfully submitted,


                                                 VIRGINIA L. GRADY
                                                 Federal Public Defender



                                                 /s/ Warren R. Williamson
                                                 WARREN R. WILLIAMSON
                                                 Assistant Federal Public Defender
                                                 633 17th Street, Suite 1000
                                                 Denver, CO 80202
                                                 Telephone: (303) 294-7002
                                                 FAX: (303) 294-1192
                                                 Email: rick.williamson@fd.org
                                                 Attorney for Defendant

 16
      Especially true in the Muhtorov and Jumaev cases with which the Court has six plus years of
      experience, including two jury trials.
                                                   14
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on July 13, 2018, I electronically filed the foregoing with the Clerk
 of Court using the CM/ECF system which will send notification of such filing to the following
 email addresses:

        Gregory Allen Holloway
        Email: Gregory.Holloway@usdoj.gov

        David Alan Tonini
              Email: David.Tonini@usdoj.gov

        Beth Gibson
              Email: Beth.Gibson@usdoj.gov

        Julia K. Martinez
               Email: Julia.Martinez@usdoj.gov

        Kathryn J. Stimson
              Email: kstimson@hmflaw.com

        Brian Rowland Leedy
              Email: bleedy@hmflaw.com

        Patrick C. Toomey
               Email: ptoomey@aclu.org

        Jacob R. Rasch-Chabot
              Email: Jacob_Rasch-Chabot@fd.org

        David Barry Savitz
              Email: savmaster@aol.com

        Mitchell Baker
              Email: mitchbaker@estreet.com




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 and I hereby certify that I have mailed or served the document or paper to the following non
 CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
 name:

        Jamshid Muhtorov
        via mail:




                                             /s/ Warren R. Williamson
                                             WARREN R. WILLIAMSON
                                             Assistant Federal Public Defender
                                             633 17th Street, Suite 1000
                                             Denver, CO 80202
                                             Telephone: (303) 294-7002
                                             FAX: (303) 294-1192
                                             Email: rick.williamson@fd.org
                                             Attorney for Defendant




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